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                                                           OeiGmA)-
                                                                                               /i:3^
                     UNITED STATES DISTRICT COURT                                               n-t.
                      DISTRICT OF MASSACHUSETTS



TIMOTHY REAVES,

                    Plaintiff,

            V.

                                                   Civil Action No. 15-40100-TSH
DEPARTMENT OF CORRECTION,
PAMELA MACEACHERN, and
MICHEL RODRIGUES,

                    Defendants.



                                   VERDICT FORM


  8^*^ Amendment: Failure to Protect Claim


  1. a. Do you find from a preponderance of the evidence that Defendant Pamela
     MacEachem failed to protect Plaintiff Timothy Reaves in violation of his Eighth
     Amendment rights?

     YES               N0_^
     [Ifyour answer to Question 1(a) is "YES, " go to Question 1(b). Ifyour answer is "NO, "
     skip to Question 2.J

     b. State the total amount of actual damages, or nominal damages (not to exceed $1), for
     which you find the Defendant is liable:

     $


     c. Do you find from a preponderance of the evidence that punitive damages should be
     assessed against the Defendant?

     YES               NO
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   [Ifyour answer to Question 1(c) is "YES. " go to Question 1(d). Ifyour answer is "NO,
   skip to Question 2.]

   d. If yes, in what amount:




S*** Amendment: Conditions of Confinement Claim


2. a. Do you find from a preponderance of the evidence thatone or more of the following
   Defendantsdenied Plaintiff Timothy Reaves adequate conditions of confinement,
   specifically by denying him access to the outdoors, in violation of his Eighth Amendment
   rights?

   Pamela MacEachern: YES                  NO ^
   Michael Rodrigues: YES                  NO ^

   [Ifyour answer to Question 2(a) is "YES" as to any ofthe Defendants, go to Question
   2(b). Ifyour answer is "NO" as to all ofthem, skip to Question 3.]

   b. State the total amount of actual damages, or nominal damages (not to exceed $1), for
   which you find the Defendant is liable:

   Pamela MacEachern: $
   Michael Rodrigues: $

   c. Do you find from a preponderance of the evidence that punitive damages should be
   assessed against one or more of the Defendants?

   Pamela MacEachern: YES                  NO
   Michael Rodrigues:     YES              NO

   [Ifyour answer to Question 2(c) is "YES" as to any ofthe Defendants, go to Question
   2(d). Ifyour answer is "NO " as to all ofthem, skip to Question 3.]

   d. If yes, in what amount:

   Pamela MacEachern: $
   Michael Rodrigues: $
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Rehabilitation Act Claim


3. a. Do you find from a preponderance ofthe evidence that Defendant Department of
   Correction violated Plaintiff Reaves' rights under the Rehabilitation Act?

   YES                  NO


   [Ifyour answer to Question 3(a) is "YES," go to Question 4. Ifyour answer is "NO, "
   go to Question 4.]

Massachusetts Constitution Claim; Handicapped Discrimination


4. a. Do you find from a preponderance of the evidence that Defendants Pamela
   MacEachemand Michael Rodrigues violated Plaintiff Reaves' rights under Article 114
   of the Massachusetts Constitution?


   Pamela MacEachem: YES                    NO     21
   Michael Rodrigues: YES                    NO ^
   [Ifyour answer to Question 3(a) or to Question 4(a) is "YES" as to any ofthe
   Defendants, go to Question 5. Ifyour answer is "NO" as to all ofthem, skip to Question
   6f

5. a. State the total amount of actual damages, or nominal damages (not to exceed $1), for
   which you find the Defendant is liable:

   Department of Corrections:    $
   Pamela MacEachem:             $
   Michael Rodrigues:            $

   [Ifyour answer to Question 4(a) is "YES" as to Defendant Pamela MacEachem and/or
   Defendant Michael Rodrigues, go to Question 5(b). Ifyour answer is "NO" as to both of
   them, skip to Question 6.]

   b. Do you find from a preponderance of the evidence that punitive damages should be
   assessed against one or more of the Defendants?

   Pamela MacEachem: YES                    NO
   Michael Rodrigues: YES                   NO
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   [Ifyour answer to Question 5(b) is "YES" as to any of the Defendants, go to Question
   5(c). Ifyour answer is "NO" as to all ofthem, skip to Question 6.]

   c. If yes, in what amount:

   Pamela MacEachern: $
   Michael Rodrigues: $

6. If you have awarded compensatory damages to PlaintiffReaves on any of the claims
   listed above, do you find that interest should be awarded to him?

   YES                NO ^


Date: Oc^ 2^ 2q1^                       Signed:                    i
                                                       Forep^^n




                                            //-^p
